



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        
          South Carolina
          Department of Social Services, Respondent,
          
        
      
    
  

v.

  
    
      
        
          S.W. and J.N., Defendants,
          
          Of Whom S.W. is
          the Appellant.
        
        In the interest
          of a minor child under the age of 18 years.
      
    
  


Appeal From Berkeley County
Gordon B. Jenkinson, Family Court Judge

Unpublished Opinion No. 2011-UP-246&nbsp; 
Submitted May 1, 2011  Filed May 24, 2011

AFFIRMED


  
    
      
        Heather S. Shaw, of Charleston, for
          Appellant.
        Wolfgang Louis Kelly, of Moncks Corner,
          for Respondent.
        Sean Fredrick Keefer, of Charleston, for
          Guardian ad Litem.
      
    
  

PER CURIAM: S.W. appeals
  from the family court's final order terminating her parental rights to her
  minor child.&nbsp; See S.C.
  Code Ann. § 63-7-2570 (2010).&nbsp; Upon a thorough review of the record and the
  family court's findings of fact and conclusions of law pursuant to Ex Parte
    Cauthen, 291 S.C. 465, 354 S.E.2d 381 (1987), we find no meritorious issues
  warrant briefing.&nbsp; Accordingly, we affirm the family court's ruling. 
AFFIRMED.[1]
WILLIAMS and
  KONDUROS, JJ., and CURETON, A.J., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR

